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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



JACOB KELLNER,                                        Docket No.
I&L DISTRIBUTING INC., also d/b/a/:
Finemodimports,Bisyatta,Disignermodern,
Designeriife,Designerseating,ExcIusivemod,                          Civil Action




                              Plaintiff,
              -against-                                       VERIFIED COMPLAINT

AMAZON,                                                       JURY TRIAL DEMAND
                              Defendants)




       Now conies, Jacob KeUner, President &CEO of I & L Distributing Inc., a plaintiff in
the above captioned matter, and who herein files the within Verified Complaint, by and through
his attorney Vincent Spata, Esq., and insupport thereof states and alleges as follow:
       1.      That plaintiff, Jacob Kellner, (at all times hereafter referred toas Kellner) is the
President and CEO of Plaintiff, I & L Distributing, Inc., (at all times hereafter referred to as I&L)
conducting business in commerce with and without the United States of America.
       2.      That plaintiff Kellner ismore than 18 years ofage, a citizen of the United States
of America, conducting business and residing in Brooklyn NewYork.
       3.      Thatnone of the issues as prosecuted in the within verified complaint have been

put before any other Court orjurisdiction by the plaintiff.


                                    JURIDICTION & VENUE

        4.     That this Honorable Court has jurisdiction over the instant case pursuant to

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Title 28 §1332, wherein defendant(s) are all located in different states (Diversity), andthe
amount in controversy exceeds $75,000.00 (Seventy Five Thousand Dollar), with all defendants

conducting business in commerce within and through thevarious States of the United States of
America, and internationally via the internet.

       5.      Venue lies before this Honorable Court wherein the plaintiffs principle office of

Business is located within thejurisdictional boundaries of thisHonorable Court andthe issues
complained ofall took place via the internet within plaintiffBusiness office, (5828-12th Avenue
Brooklyn NY, 11229).

                                         THE PARTIES

       6.      That plaintiffKellner is thePresident and CEO of plaintiff I&L, also conducting
business under various trade names on land and the internet, within and without the United States

of America.

       7.      That plaintiffI&Lis a domestic corporation formed and organized underthe laws
of the StateofNew York, conducting business through commerce within and withoutthe United

States of America.

        8.     That Defendant Amazon, is a Worldwide Commercial enterprise, conducting

business on landand through the internet, within andwithout the United States of America, with
Corporate Headquarteroffices located in Seattle Washington.



                                        INTRODUCTION

        9.     Incontrovertibly, Defendant Amazon, is a Mammoth, Worldwide, Commercial

Enterprise conducting and dominating Business and trade on land andthe internet, within and
without the United States of America, on land and the internet, with a greater surreptitious goal

to monopolize commerce and trade, withinand without the United States of America.

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       10.        The plaintiff(s) conducted business with Amazon who accepted them as anonline
vendor authorized to sell product(s) throughthe Amazon venue in an 'online store', until that

continued business relationship wasarbitrarily and capriciously ended by Amazon, who in some
instances employed 'unfair trade' practices to eliminate competition, while monopolizing free
trade atthe peril ofits vendors, including the plaintiff(s), while deliberately interfering with
plaintiffs right to engage in commerce.
        11.       That in other part defendant Amazon has arbitrarily and capriciously terminated
plaintiffs seller rights and rights incommerce, to continue selling a certain 'lighting fixture',
(and other products) onthe internet inAmazon online store, citing restrictions ofa
Trademark/Patent, erroneously claimed by (un-named inthis complaint) foreign company to be
protected by Trademark/Patent, which plaintiff's due diligence investigation proves itisnot, as
will be set out more fully below.

        12.       The plaintiff suffered ongoing and continuous ascertainable financial losses since
the wrongful, arbitrary and capricious termination ofthe selling rights by defendant Amazon,
exceeding more than Two Hundred Thousand Dollars monthly ($200,000.00), for more than a
year prior to filing within civil action and attempting to mitigate damages and this instant suit
now follows.




                              FACTS IN COMMON TO ALL COUNT

        13.       That plaintiffs) opened an online *store' account with defendant Amazon on or

about 2014.

        14.       That plaintiff(s) conducted business incommerce with Amazon through their
 online internet stores under various trade names, including but not limited to,

              •    Finemodimports
              •    Bisyatta
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             •   Disignermodern
             •   Designerlife
             •   Designerseating
             •   Exclusivemod

       15.       That in on or about 2018 Amazon terminated plaintiff online store 'Bisyatta',

which primarily dealt in the sale oftoys through theironlineAmazon internet store.


       16.       That Amazon suspended the plaintiffs online store (Bisyatta) without cause and

consistentwith Amazons surreptitious objectives to eliminate, control and deliberately interfere

with Commerce rights ofthe plaintiff(s) as an Amazon online vendor.


       17.       That Amazon in terminating the plaintiffs 'Bisyatta' online store account

intended to and did eliminate competition by the plaintiffs) in commerce.

       18.       That Amazon refused to mitigate plaintiff(s) claim of unfair trade practices

concerning 'Bisyatta', and in a taped conversation Amazon Representative told plaintiff

Kellner that he had to many accounts and plaintiff should stop complaining and emailing

various Amazon concerns for review and mitigation, because he (the plaintiff) was terminated

and that was it, nothing could be done by the plaintiff and Representative wasn't going to try to

resolve the controversy.

       19.       That plaintiff has an earlierwritten reply by Amazon that his multiple online store

accounts were approved for use in Amazon online store platform.

       20.       That following the termination ofthe plaintiffs Amazon online store account

(Bisyatta) Amazon notified the plaintiff that he needed to remove the goods (Toys) or they

would be destroyed.
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       21.    That plaintiff did not remove the goods (Toys) while the controversy was in

progress.

       22.    That Amazon during the controversy over the online sales ofToys by 'Bisyatta'

Amazon beganselling plaintiff's property (Toys) under theirown brand and name.

       23.    That Amazon engaged in a pattern andpractice of 'unfair trade/business

practices' in violation of the Sherman Act,to ended plaintiffs competition intrade and
commerce with Amazon and accomplish Amazon's surreptitious goal to monopolize commerce

and unfairly eliminate competition in commerce.

       24.    That Amazons business practices were andare 'anti-competitive', and were

employed against the plaintiff(s)not only as vendor authorized to use Amazon online platform to

engage in trade, but as 'consumers' ofthe Amazon onlinetrade platform.

       25.     That Amazons surreptitious aims and objectives are to monopolize trade and

commerce on the land and on the internet, through their pattern and practice of conduct to

capture the vendors brand and then convert vendors brand to their own use for profit and hence

unfairly control, command and monopolize tradeand commerce on the land and the internet.

       26.     That defendant Amazon's conduct in the instant case was aimed at 'suppression

of competition' ofthe plaintiffs intra/interstate TRADE/COMMERCE rights, and to

monopolize trade and commercethrough a pattern and practice of conductto engage in 'unfair

business practices', to eliminate 'fair competition', in violation of the Sherman/Clayton Act.

       27.     That defendant Amazon is a business entity which affects interstate commerce

within the meaning of the Sherman & Clayton Act.

       28.     That defendant Amazon's scheme to terminate plaintiff's rights in Commerce by

arbitrarily and capriciously terminating plaintiffs 'Bisyatta' Amazon store account and other

plaintiff store accounts, was intended to eliminate competition in trade and commerce.

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       29.     That as a 'ruse' defendant Amazon employs a pattern and practice of conduct

wrongfully placing blame on subordinateemployees and staff members to secretly advance their

ploy to interfere with, disruptand control trade and commerce oftheir competitorsin commerce

like the plaintiffs, with the sole aim of establishing and advancing a monopoly over the

wholesale, retail community, while eliminating competition and fixing prices.

       30.     That Amazon hasdeliberately interfered with plaintiff(s) right to engage in
commerce after plaintiffs) had built a customer base and following in wholesale and retail sales

through building their internet stores on Amazon's internet platform, through mutual agreement

with Amazon.

       31.     That the plaintiffs are consumers within the meaning of the Sherman/Clayton Act,

through establishing an online store platform as offered and accepted by defendantAmazon.

       32.     That plaintiff(s) rights in Commerce are fundamental.

       33.     That defendant Amazon has deliberately interfered with plaintiff(s) right to freely

participate in Commerce with the intent of monopolizing the Amazon brand.

       34.     That free commerce is the cornerstone of our American system of Democracy.

       35.     That defendant Amazon next terminated plaintiffs) online store account as

mutually negotiated and approved by the parties, where plaintiffs were offeredand defendant
Amazon accepted plaintiff(s) onlinevendor store account under the trade name
'Finemodimports' (dVb/a of plaintiff I&L Distributing Inc)..

       36.     That an erroneous Trademark/Patent violation claim was filed on

behalfof a foreign corporation, erroneously claiming an infringement by the plaintiff

through the sale of their lighting product.

       37.     That defendant Amazon immediately and without any due diligence investigation
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into the erroneous claim, arbitrarily and capriciously terminated plaintiff I&L Distributing, Inc.

d/b/a: Finemodimports online Amazon store account, eliminating all plaintiff product line

including products not in controversy.

       38.     That plaintiff(s) objected to and appealed the Amazon decision to terminate the

plaintiffs online store platform and was denied by Amazon once again without any due

diligence, orconfirmation thatthe Trademark/Patent violation was valid.
       39.     That the controversy which led to the termination of plaintiffs) online store

account (Finemodimports) by defendant Amazon included a very small part of plaintiff(s) online

store trade through the Amazon platform, yet Amazon suspended all of plaintiffs rights to sell

all plaintiffs online products.

       40.     That plaintiff commissioned a due diligence investigation including the assistance

of an experienced Patent Attorney.

       41.     The attorney due diligence investigation revealed that the 'product' being sold by

plaintiff on the Amazon online store platform wasoutside the Trademark/Patent, as erroneously

claimed and that the Trademark/Patent as erroneously alleged by defendant Amazon, could not

be used under any circumstancesto preclude the sale of the productline in controversy between

the parties.

        42.    That a further due diligence investigation by the plaintiffrevealed that the

Trademark/Patent was facially invalid and cancelled, wherein no indispensable 'Declaration'

filed with the U.S. Trademark/Patent office for their indispensable approval to extend the

Trademark/Patent for the 10 year period.

        43.    That pursuant to 15 USC §§ 1058/1141k, claimantwas bound to make a

Declaration to the U.S. Trademark/Patent office for continued approval to have the protections

for the 10 year period and did not.

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       44.       That a grace period to file the indispensable Declaration to the U.S.

Trademark/Patent office was never exercised.

       45.       That based upon information and belief Trademark/Patent is cancelled and

null & void as a matter of law and it is the duty of defendant Amazon to conduct a full, fair and

impartial due diligence investigation prior to suspending plaintiffs online vendor store accounts.

       46.       Thateven if Trademark/patent is valid as a matter of law, it does
not affectplaintiffs right to sell the productin controversy as the product in controversy is

outside the protection of the Trademark/Patent, as stated by plaintiffwritten due diligence

investigation in writing.

       47.       That defendantAmazon had a duty to conducta full and impartial due diligence

investigation into claim andplaintiff(s) appeal and did not.
       48.       That instead defendant Amazon abruptly, wrongfully and without verifiable proof
terminated plaintiffs rights incommerce, causing the plaintiffto suffer ascertainable damages in
an amount of Two hundred Thousand dollars ($200,000.00)monthly.

       49.       That defendant Amazon wrongfully terminated plaintiffs) online store platform
Erroneously, based upon an infringement, where no verification was provided on the following
productline:
ERRONEOUS SUSPENSION OF AMAZON ACCOUNT/Plaintiff(s) I&L Distributing
Inc., d/a/b:DESIGNER MODERN
             • AMAZON COMPLAINT ID: 551502274l/ASIN-B00A0VO30M/Black Arch
                 Lamp, Big Base, Black

             • AMAZON COMPLAINT ID: 1491496668741/ASIN-B00767YIQM/Designer
               Modern Arco Black Cube-Shaped Marble BaseFloor Lamp

             .    AMAZON COMPLAINT ID: 1496668921/ASIN-B001JEOTOY/ Arco Black
                  Cube-Shaped Marble Base Floor Lamp
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       50.        That based upon information and beliefincluding Patent attorney due diligence
investigation none of the aforementioned products are protected orcovered by erroneous claim.
       51.        That Shoppers found Fine Mod items simply by searching Google for items.
       52.        Fine Mod items were prominently placed on Google search results due to selling

original items.

       53.        After Fine Mod started selling on Amazon, sales on defendant Amazon store

platform increased sharply.
       54.        That based uponthe increased demand Fine Mod began purchasing large

quantities of furniture to serve the demand from Amazon platform.
        55.       That After several months, when consumers searched for items on Google,

Amazon listing began to appear instead of Fine Mod website.

        56.       That Fine Mod links were basically purged by Google due to duplicate content.
        57.       That following the purge consumers were unable to find and purchase fine mod
Items from plaintiff(s) on defendant Amazon store platform.
       59.        That for no justifiable reason, defendant Amazonunilaterally, arbitrarily and

capriciously, decided to shut and terminate, plaintiff(s) online Amazon Fine Mod store accounts.
      60.     That defendant Amazon's actions constituted a deliberate interference with

plaintiff(s) fundamental rights incommerce, leaving plaintiff(s) stuck with large overstock in
inventory and substantial financial losses.

     61.      That additionally, to date, consumers who now search for fine mod items on

Google, are led to defendant Amazon links to those items. When consumers click onthe
defendant Amazon links, a message greets them saying items not available, constituting ongoing

conduct by defendant Amazon to deliberately interfere with plaintiffs) fundamental right to
engage in commerce, and surreptitiously monopolize defendant Amazon Brand, eliminate
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competition, in violation of the Sherman/Clayton Act.
       62.    That The practice of Amazon to keep aforementioned links alive on Google,

despite shutting down Fine Mod, continues to adversely affect sales of Fine Mod.
       63.    That between the period 2016 thru 2018 defendant Amazon has arbitrarily and

capriciously terminated various plaintiff online Amazon store accounts costing the plaintiffto
suffer substantial, ongoing financial damages.

       64.    That defendant Amazon 'rigs' their tracking algorithms to single out and

eliminate competition, in violation of the Sherman/Clayton Act.


       65.     That defendant Amazon's policy and procedures governing their online store

vendors are bias, discriminatory, and monopolistic.

       66.     That defendant Amazon useragreement is vague, overbroad and designed to

Eliminate competition, fix prices and advance their surreptitious monopolistic agenda in
violation ofthe Sherman/Clayton Act.

       67.     That defendant Amazon online store offering (by design and intent) to plaintiff

constitutes an anticompetitiveagreement in violationofthe Sherman/Clayton Act.

       68.     That the pattern and practice of defendant Amazon in establishing, implementing,

operating and managing their online store vendor program, constitutes unilateral conduct that
monopolizes orattempts to monopolize trade and commerce intherelevant market in violation
of the Sherman Act.

        69.    That the plaintiff(s) are consumers and private parties withinthe meaning of the

Sherman/Clayton Act who suffered substantial financial damages in commerce and trade caused

by the illegal/unfair business practices of defendant Amazon.

        70.    That defendant Amazon has engaged in a patternand practice of monopolistic and

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nefarious conduct against the plaintiff(s), asconsumers of defendant Amazon online store
internet platform, deliberately interfering with plaintiffs) fundamental right to engage in trade
and commerce.

       71.     That defendant Amazon's unfair business practices are aimed at destroying

competition itself, with a surreptitious goal ofmonopolizing and controlling trade and
commerce.


       72.      That defendant(s) should beenjoined from deliberately and wrongfully interfering
the plaintiff(s) fundamental right to conduct business and trade in commerce, on the land and
internet, foreign or domestic.
       73.      That defendant Amazon should be ordered to restore plaintiff (Finemodimports)

online Amazon store platform.

                                          COUNT ONE

                     VIOLATION OF THE SHERMAN/CLAYTON ACT

        74.     That plaintiffby reference includes and incorporates all facts andaverments
as set forth more fully above in paragraphs 1-73 as though actually set forth herein, and;
        75.     Thatplaintiff(s) engage in interstate andinternational trade in commerce, in the

wholesale/retail markets.

        76.     That defendant Amazon has engaged in a patternand practice to restrain trade and

commerce by the plaintiffs), anddeliberately interfere with plaintiff's rights in commerce in
and trade in violation ofthe Sherman/Clayton Act, and;

      WHEREFORE the plaintiffs) Demand a Money Judgment (treble Damages) in the
amount of Five Milliondollars ($5,000,000.00), together withan award of treble damages
pursuant tothe act, court costs, pre and post trial interest, and reasonable attorney fees, together
with injunction restoring plaintiff(s) online Amazon Store accounts), Ordering andDirecting
 defendant Amazon to cease and desist all anti-competition, trade, and deliberate interference
 with commerce, unfair business practicesaimedat monopolizing the market against the

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plaintiff(s) and all other consumers, together with any other ordifferent relief as the Court may
deem necessary and just within its jurisdiction.
                                             COUNT TWO

                                      BREACH OF CONTRACT

       77.     That plaintiff byreference includes and incorporates all facts and averments asset
forth more fully above inparagraphs 1-76 as though actually set forth herein, and;
       78.     That defendant Amazon 'Breached' their online store vendor contract with the

plaintiff(s) various plaintiff Amazon store vendor accounts, causing the plaintiff(s)
to suffer substantial ascertainable losses and financial damages in excess of $200,000.00
monthly (ongoing) insales and trade through various Amazon store accounts wrongfully
terminated by Defendant Amazon, and;

        79.    That defendant Amazon caused the plaintiff(s) to suffersubstantial financial

losses in liquidating stock intended for sale through their online Amazon store account,
which was arbitrarily and capriciously terminated by defendant Amazon, causing the
plaintiff(s) to suffer substantial financial losses inexcess ofTwo Million dollars, and;
        WHEREFORE the plaintiff(s) Demand a Money Judgment intheamount of Ten
Million dollars ($10,000,000.00), in actual damages, together with punitive damages in
anamount to be determined by a jury at trial, court costs, preandposttrial interest, and
reasonable attorney fees, together with injunction restoring plaintiff(s) online Amazon
Store account, Ordering andDirecting defendant Amazon to cease and desist all anti-
competition, trade, unfair practices, and deliberate interference with commerce, unfair business
practice5^g^^^@rtaintiff(s) and other consumers.

  Incent Spata, Esq.
 Plaintiffs) Attorney
 1275-74* Street                                   12
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Brooklyn New York 11228
Tel. No. 718-614-2127

Dated: December 18th,2018
State of New York
Kings County
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 Brooklyn New York 11228
 TeL No. 718-614-2127

 Dated: December 18th, 2018
 State of New York
 Kings County

                                            VERIFICATION


 That I Jacob Kelber am the plaintiffofthe within civil action as filed against the above named
 defendant, and do hereby verify that I am the plaintiffand assuch familiar with all the facts of
 thecase andhave read the Complaint and hereby state and verify that the facts andaverments as
 stated and set forth thereinare true and correct to the bestof my knowledge and beliefandas to
 those feels or averments based upon belief, I believe themto by True.


 Jacob KeUner

 Dated: December 18*, 2018




      VINCENT F SPATA
Notary Public, State Of New York
       NO.02SP6061317
    Qualified in KingsCounty
Commission Expires July 16, 2019




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